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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

OUYEINC LTD.,
                                                 Case No. 20 cv 3490
                        Plaintiff,

       v.

Alucy and et al.,

                        Defendants.



                       NOTICE OF DISMISSAL UNDER RULE 41(a)(1)


       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Ouyeinc Ltd.

(“Ouyeinc” or “Plaintiff”) hereby dismisses this action with prejudice pursuant to settlement as

to the following Defendants:

              Defendant Name                                       Line No.

                    2015kids                                           89

                    nubeestore                                        387

                    you-shop-1                                        532

       BEST CUSTOMER SERVICE                                           11

                      G-Mat                                            35

             Outdoor Sports 007                                        54




DATED August 4, 2020                                Respectfully submitted,

                                                    /s/ James A. Karamanis
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